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                     1   Deverie J. Christensen
                         Nevada State Bar No. 6596
                     2   Daniel I. Aquino
                         Nevada State Bar No. 12682
                     3   JACKSON LEWIS P.C.
                         300 S. Fourth Street, Suite 900
                     4   Las Vegas, Nevada 89101
                         Tel: (702) 921-2460
                     5   Email: deverie.christensen@jacksonlewis.com
                                 daniel.aquino@jacksonlewis.com
                     6
                         Attorneys for Defendants
                     7   All City Pharmacy LLC and
                         Garen Gararakhanyan
                     8
                     9                               UNITED STATES DISTRICT COURT

                10                                         DISTRICT OF NEVADA

                11
                         JARED KOHN, an individual,
                12
                                       Plaintiff,                          Case No. 2:20-cv-01956-APG-VCF
                13
                                 vs.
                14                                                         STIPULATION AND ORDER TO
                         ALL CITY PHARMACY L.L.C.; GAREN                   EXTEND DEADLINE FOR
                15       GARARAKHANYAN, an individual;                     DEFENDANTS TO FILE A RESPONSE
                         EMPLOYEE(S)/AGENT(S) DOES I-X; AND                TO PLAINTIFF’S COMPLAINT
                16       ROE CORPORATIONS XI-XX,
                         INCLUSIVE,                                        (First Request)
                17
                                       Defendants.
                18
                19              Defendants All City Pharmacy LLC and Garen Gararakhanyan (“Defendants”) by and
                20       through their counsel, Jackson Lewis P.C., and Plaintiff Jared Kohn (“Plaintiff”) by and through
                21       his counsel, Gabroy Law Offices, hereby stipulate and agree to extend the time for Defendants to
                22       file an answer or otherwise respond to Plaintiff’s Complaint. Defendant All City Pharmacy LLC
                23       was served on September 22, 2020 and Defendant Garen Gararakhanyan was served via
                24       Acceptance of Service on October 20, 2020. Defendants removed the case to federal court on
                25       October 22, 2020. Defendant All City Pharmacy LLC’s responsive pleading is due on October
                26       29, 2020. Defendant Garen Gararakhanyan’s responsive pleading is due on November 12, 2020.
                27               Plaintiff and Defendants have agreed to an extension of time for Defendants to file a
                28       response to the Complaint to allow defense counsel sufficient time to investigate the allegations

Jackson Lewis P.C.
    Las Vegas
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                     1   of the Complaint. Defendants shall, therefore, have a thirty (30) day extension from All City

                     2   Pharmacy LLC’s responsive pleading deadline to file a responsive pleading to Plaintiff’s

                     3   Complaint, and both Defendants’ responsive pleading shall be due on November 30, 2020,

                     4            This stipulation and order is sought in good faith and not for the purpose of delay. No

                     5   prior request for any extension of time has been made.

                     6            Dated this 26th day of October, 2020.

                     7   GABROY LAW OFFICES                               JACKSON LEWIS P.C.

                     8
                         /s/ Kaine Messer                                 /s/ Daniel I. Aquino
                     9   Christian Gabroy, Bar No. 8805                   Deverie J. Christensen, Bar No. 6596
                         Kaine Messer, Bar No. 14240                      Daniel I. Aquino, Bar No. 12682
                10       The District at Green Valley Ranch               300 S. Fourth Street, Suite 900
                         170 South Green Valley Parkway, Suite 280        Las Vegas, Nevada 89101
                11       Henderson, Nevada 89012
                                                                          Attorneys for Defendants
                12       Attorneys for Plaintiff                          All City Pharmacy LLC and
                                                                          Garen Gararakhanyan
                13
                14
                                                                      ORDER
                15
                         IT IS SO ORDERED:
                16
                17                10-27-2020
                         Dated: ___________________                   ________________________________________
                18                                                    UNITED STATES MAGISTRATE JUDGE
                                                                      Cam Ferenbach
                19
                20
                21       4845-4337-1472, v. 1


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Jackson Lewis P.C.
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    Las Vegas
